
305 S.E.2d 734 (1983)
Jeffrey P. MAZZA
v.
Robert A. HUFFAKER and Robert A. Huffaker, M.D., P.A.
No. 215P83.
Supreme Court of North Carolina.
August 9, 1983.
Young, Moore, Henderson &amp; Alvis, Raleigh, for defendant.
Boyce, Mitchell, Burns &amp; Smith, Raleigh, for plaintiff.
Midgette, Higgins, Lembo &amp; Graves, Chapel Hill, for plaintiff.
Defendant's petition for discretionary review, 61 N.C.App. 170, 300 S.E.2d 833, under G.S. § 7A-31. Denied.
